             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                          CIVIL NO. 2:07CV16-1-T
                                (2:04CR93)




JOHN WESLEY BLACKMON,                      )
                                           )
                        Petitioner,        )
                                           )
            v.                             )     MEMORANDUM AND
                                           )        ORDER
UNITED STATES OF AMERICA,                  )
                                           )
                  Respondent.              )
______________________________             )


      THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255, filed August

10, 2007. No response is necessary from the Government.

      A prisoner in federal custody may attack his conviction and sentence

on the grounds that it is in violation of the Constitution or United States law,

was imposed without jurisdiction, exceeds the maximum penalty, or is

otherwise subject to collateral attack. 28 U.S.C. § 2255. However,

      [i]f it plainly appears from the face of the motion and any
      annexed exhibits and the prior proceedings in the case that the
      movant is not entitled to relief in the district court, the judge




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      shall make an order for its summary dismissal and cause the
      movant to be notified.

Rule 4, Rules Governing Section 2255 Proceedings for the United

States District Courts. The Court, having reviewed the record of criminal

proceedings, enters summary dismissal for the reasons stated herein.



                        I. PROCEDURAL HISTORY

      On October 4, 2004, Petitioner was one of ten individuals indicted on

one count of conspiracy to possess with intent to distribute at least 50

grams of cocaine base in violation of 21 U.S.C. §§ 841 and 846. Bill of

Indictment, filed October 4, 2004. In addition to the indictment, the

Government filed an information pursuant to 21 U.S.C. § 851 setting forth

the Petitioner’s previous felony drug conviction. Information pursuant to

Title 21, U.S.C. § 851, filed October 4, 2004. On January 24, 2005,

Petitioner and his attorney attended a Rule 11 hearing where the Petitioner

entered a guilty plea to the charge contained in the indictment without

benefit of a plea agreement. Entry and Acceptance of Guilty Plea

Form, filed January 24, 2005. On June 17, 2005, this Court sentenced

Petitioner to a total sentence of 200 months imprisonment. Judgment in a

Criminal Case, filed July 12, 2005.



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       Petitioner appealed his sentence and the Government filed a cross

appeal. Petitioner challenged the Court’s determination that he was

responsible for 50 to150 grams of crack cocaine, the four-level

enhancement for his role in the offense, and to being subjected to the

enhanced statutory penalties due to the fact he never received the § 851

notice. United States v. Blackmon, 183 F. App’x 283 (4 th Cir. 2006).

Petitioner also argued that the Court’s statement of reasons for the

sentence it imposed was unreasonable. Id. at 285. The only issue raised

by the Government on appeal was that the Court “erred in refusing to

enhance Blackmon’s sentence based on facts not found by the jury where

the [Court’s] refusal to apply such enhancement was based on the mistake

of law that such enhancement could not be applied notwithstanding the

advisory nature of the guidelines.” Id. The Fourth Circuit agreed with the

Government and ruled that this Court had improperly calculated the

guideline range and, therefore, the Petitioner’s sentence “was not

reasonable.” Id. at 286. The Fourth Circuit vacated Petitioner’s sentence

and remanded the case for resentencing. Id. The Fourth Circuit also

noted that its ruling rendered Petitioner’s issues on appeal moot. Id. at

285.




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      On remand, this Court sentenced Petitioner to 275 months

imprisonment. Amended Judgment in a Criminal Case, filed

September 5, 2006. Petitioner again appealed his sentence. Notice of

Appeal, filed August 25, 2006. However, by order filed February 9, 2007,

the Fourth Circuit granted Petitioner’s unopposed motion to dismiss and

dismissed his appeal. United States v. Blackmon, No. 06-4898 (4 th Cir.

Feb. 9, 2007).

      In Petitioner’s timely § 2255 motion, he argues that his guilty plea

was involuntarily and unknowingly made and entered, and he received

ineffective assistance of trial and appellate counsel.




                                II. ANALYSIS

      First, Petitioner alleges that his guilty plea was not entered freely and

voluntarily with a complete understanding of the consequences. More

specifically, Petitioner alleges that the Court failed to inform him that his

“role” in the crime would become a factor in determining his ultimate

punishment range.

      It is not incumbent upon a court to inform a defendant of all the

possible sentencing outcomes at his plea hearing. See generally Fed. R.




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Crim. P. 11(b) (setting forth information the court is required to

explain to a defendant at a plea hearing). Rather, a court is required to

inform a defendant of the maximum and minimum statutory penalties he

faces and the role of the sentencing guidelines in ultimately determining his

sentence. Fed. R. Crim. P. 11(b)(1)(H) and (I). The exact results of

applying the sentencing guidelines are often unknown at the time of the

plea hearing as the presentence report has not yet been prepared. As

such, this allegation does not support a finding that Petitioner’s guilty plea

was unknowingly and involuntarily made and entered.

      Petitioner also asserts that the fact his counsel raised objections to

the drug amount, Petitioner’s role in the offense, and to the § 851

enhancement support a conclusion that his guilty plea was involuntary. To

the contrary, such objections are indicative of zealous advocacy and do not

reflect upon the voluntariness or knowing aspects of Petitioner’s guilty plea.

As is stated clearly at a plea hearing, not all sentencing issues are resolved

at the plea hearing. See Transcript of Plea and Rule 11 Hearing, filed

August 24, 2005, at 10-11.




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      Petitioner also points to a particular exchange during his plea hearing

to support his claim. Petitioner states that his “no” response to the

question, “Is your willingness to plead guilty the result of prior discussions

between you and your attorney and the attorney for the government,”

shows his guilty plea was not entered knowingly and voluntarily. Id. at 13-

14. The Court disagrees with the significance Petitioner attaches to this

exchange. Read in context in its entirety, it is apparent that Petitioner

misunderstood or misheard the essentially rhetorical question.

      THE COURT:              Is your willingness to plead guilty the
                              result of prior discussions between you
                              and your attorney and the attorney for
                              the government? I take it your answer
                              to that is no. Is that correct?
      THE DEFENDANT:          I couldn’t hear that question.
      THE COURT:              Do you want me to ask you that again?
      MR. BANZHOFF:           Yes, sir.
      THE COURT:              Is your willingness to plead guilty the result of
                              prior discussions between your attorney and
                              the attorney for the government?
      THE DEFENDANT:          No, sir.
      THE COURT:              Do you want me to ask him that again, Mr.
                              Banzhoff, just to make sure he understands
                              it?
      MR. BANZHOFF:           I think he understands it, and just to clarify,
                              obviously his basis for pleading guilty is based
                              upon discussions and evidence contained in
                              the government’s open file.

Id. Because the Court knew the Petitioner was pleading guilty without the

benefit of a plea agreement, it followed that Petitioner, his attorney, and the


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Government had not had any discussions regarding any plea arrangement.

Id. at 13 (“I take it your answer to that is no.”). Defense counsel

supplemented Petitioner’s answer and acknowledged that Petitioner’s

guilty plea was “based upon discussions and evidence contained in the

government’s open file.” Id. at 14. This exchange does not show the

Petitioner entered his plea involuntarily and unknowingly.

      Finally, Petitioner alleges that his guilty plea was involuntary and in

violation of Rule 11 because no factual basis for his guilty plea was

established at his plea hearing. Rule 11(b)(3) of the Federal Rules of

Criminal Procedure, however, does not require that a factual basis be

established at the plea hearing. Rather, the Rule requires that a factual

basis be determined “before entering judgment on a guilty plea.”

Therefore, because the Court was not required to determine that a factual

basis existed at Petitioner’s plea hearing, Petitioner’s claim is without

merit.1 Moreover, as a factual basis need not be determined at the Rule 11


      1
         A review of the record reveals that the Court did not directly
address the existence of a factual basis at the first sentencing hearing. A
district court, however, “may conclude that a factual basis exists from
anything that appears on the record.” United States v. DeFusco, 949
F.2d 114, 120 (4 th Cir. 1991); see United States v. Adams, 961 F.2d 505,
512-13 (5 th Cir. 1992) (considering evidence contained in defendant’s
presentence report in determining whether Rule 11(f) error was
harmless). In the instant case, at a minimum, the presentence report


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hearing, it follows that the finding of a factual basis is not typically relevant

to a determination that a guilty plea is voluntarily entered at a plea hearing.

Consequently, for this reason as well, Petitioner’s allegation of a factual

basis error cannot sustain his claim of an involuntary guilty plea.

      Lastly, Petitioner also alleges he received ineffective assistance of

counsel from both his trial and appellate attorneys. In order to succeed on

a claim for ineffective assistance of counsel, the Petitioner must establish

that counsel’s performance was constitutionally defective to the extent it fell

below an objective standard of reasonableness, and that he was prejudiced

thereby. Strickland v. Washington, 466 U.S. 668, 687-91 (1984). In

other words, there is a reasonable probability that but for the error, the

outcome would have been different. In making this determination, there is

a strong presumption that counsel’s conduct was within the wide range of

reasonable professional assistance. Id. at 689; Fields v. Attorney Gen.

of Md., 956 F.2d 1290, 1297-99 (4 th Cir. 1995). Petitioner bears the


established a sufficient factual basis. Moreover, Petitioner does not satisfy
the stringent standard for establishing an actionable Rule 11 claim on
collateral review. See United States v. Timmreck, 441 U.S. 780, 783
(1979) (a defendant cannot overturn a guilty plea on collateral review
absent a showing that the Rule 11 proceeding was “inconsistent with
the rudimentary demands of fair procedure” or constituted a
“complete miscarriage of justice”); Fed. R. Crim. P. 11(h) (setting forth
application of harmless error standard to Rule 11 violations) .


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burden of proving Strickland prejudice. Fields, 956 F.2d at 1297. If the

petitioner fails to meet this burden, a “reviewing court need not consider the

performance prong.” Id. at 1290.

      Moreover, a petitioner who alleges ineffective assistance of counsel

following the entry of a guilty plea must meet an even higher burden. Hill

v. Lockhart, 474 U.S. 52, 53-59 (1985). When a petitioner challenges a

conviction entered after a guilty plea, in order to establish the requisite

prejudice, he must show that “there is a reasonable probability that but for

counsel’s errors he would not have pleaded guilty and would have insisted

on going to trial.” Hooper v. Garraghty, 845 F.2d 471, 475 (4 th Cir. 1988).

This determination is an objective one based on whether going to trial

might reasonably have resulted in a different outcome. Hill, 474 U.S. at

59-60. Moreover, courts must be highly deferential to strategic choices

made by trial counsel. Strickland, 466 U.S. at 689. Every effort must “be

made to eliminate the distorting effects of hindsight[.]” Id.

      Petitioner alleges that his trial counsel was ineffective because he

misadvised 2 him as to his sentence exposure. More specifically, Petitioner



      2
        The Court notes that although it is counsel’s responsibility to advise
his or her client in this regard, the attorney is not ineffective for failing to
predict the precise sentence a defendant will receive.


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asserts that his counsel informed him that he would be sentenced to the

minimum ten year term of imprisonment. Petitioner alleges that as a result,

his counsel permitted him to enter a guilty plea without a full understanding

of the consequences.

     In reaching a decision on this claim, the Court places great weight on

the Petitioner’s representations at his Rule 11 Hearing. See Blackledge v.

Allison, 431 U.S. 63, 73-74 (1977) (representations made by a

defendant at a plea hearing, as well as any findings made by the

judge, constitute a formidable barrier in any subsequent collateral

proceeding); see also United States v. DeFusco, 949 F.2d 114,119 (4 th

Cir. 1991) (statements made by a defendant during a Rule 11

proceeding constitute strong evidence of the voluntariness of the

plea). Petitioner swore under oath at his plea hearing that he understood

that he faced a maximum sentence of life and a minimum sentence of ten

years imprisonment. Transcript of Plea and Rule 11 Hearing, supra, at

8-9. Petitioner also stated under oath that he understood that the

sentence imposed by the Court would be within the statutory limits and in

the Court’s sound discretion, and that his plea was entered voluntarily and

not as a result of coercion, threats or any promises. Id. at 11, 13. Based




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upon Petitioner’s own representations at his plea hearing, this Court

concludes that he cannot establish that he was prejudiced by any alleged

prediction by his counsel that he would receive a sentence of ten years

imprisonment.

     Petitioner also alleges that his trial counsel was ineffective for failing

to seize an opportunity to specify the amount of drugs to which Petitioner

was pleading guilty. Petitioner asserts that when the Court inquired

whether counsel had any comments regarding the new format of the Rule

11 hearing following the Booker ruling,3 his counsel should have made it

clear the amount of drugs to which Petitioner was pleading guilty.

Petitioner’s claim on this basis is meritless. Not only would it have been

inappropriate for counsel to raise that issue at the plea hearing, such an

argument would not have been responsive to the Court’s question.

Moreover, at the sentencing hearing Petitioner’s counsel vociferously

argued against holding Petitioner responsible for the drug amount listed in

Petitioner’s Indictment. See Transcript of Sentencing Hearing held

June 17, 2005, at 7-13. Indeed, at the first sentencing hearing, the Court

agreed with the argument of Petitioner’s counsel that Petitioner was


     3
      United States v. Booker, 543 U.S. 220 (2005) (holding that the
Sentencing Guidelines should be treated as advisory).


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responsible for more than 50 but less than 150 grams of cocaine base. Id.

at 17.

         Petitioner also argues that his counsel was ineffective for failing to

challenge the rulings regarding drug quantity and enhancements that this

Court made using a preponderance of the evidence standard. This issue

was discussed extensively at Petitioner’s first and second sentencing

hearings. The preponderance of the evidence standard was ultimately

applied pursuant to the Fourth Circuit’s instructions to do so. Blackmon,

183 F. App’x at 285 (“In sentencing defendants after Booker, district

courts should apply a preponderance of the evidence standard[.]”).

No actions of Petitioner’s counsel prejudiced Petitioner on this issue nor

was counsel’s performance deficient.

         Petitioner alleges that his appellate counsel was ineffective because

he should have moved to strike Petitioner’s pro se notice of appeal due to

the fact that he should have known the Government might file a cross-

appeal. Petitioner asserts that as a result of his appellate counsel’s failure

to strike the pro se appeal, he ultimately received a sentence that was 75

months greater than his original sentence.




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      A defendant has an absolute right to appeal. Appellate counsel,

therefore, would have been providing ineffective assistance if, on his own,

he took steps to have Petitioner’s pro se appeal stricken. In any event,

Petitioner fails to allege that he would have consented to the withdrawal of

his appeal at that time. Additionally, at the Petitioner’s first sentencing

hearing, the Court alluded to the possibility that the Government would

appeal its sentencing ruling. See Sentencing Transcript of June 17,

2005, supra, at 23 (“You both will have plenty to appeal from.”); at 28

(“So if they [the Petitioner] appeal the case, you [the Government]

have a lot of foundation now to appeal with them.”). Therefore, the

Court finds it dubious that Petitioner was oblivious to the risk associated

with filing an appeal.

      Moreover, Petitioner fails to provide any support whatsoever for his

conclusion that the Government would not have filed an appeal had he not

done so. The docket record shows that the Government’s cross-appeal

was filed within the time frame in which the Government could initiate an

appeal. Fed. R. App. P. 4(b)(B)(i). The Court further notes that

Petitioner’s appellate counsel was appointed eight days prior to the filing of

the Government’s cross-appeal. Consequently, the Government had, in all




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likelihood, already begun the cross-appeal process before appellate

counsel was appointed. The Court finds Petitioner has simply failed to

establish that he was prejudiced or that he would have, without the benefit

of the hindsight he now possesses, agreed not to appeal. In addition, he

has failed to provide any evidence whatsoever to support the conclusion

that the Government would not have appealed in any event.

      Because the Petitioner has failed to show that he was prejudiced in

any way by the actions of trial or appellate counsel, the second prong of

Strickland need not be addressed.



                                IV. ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s motion to vacate,

set aside, or correct sentence is DENIED. A Judgment dismissing this

action is filed herewith.




                                     Signed: July 23, 2008




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